                         UNITED STATES DISTRICT COURT
                                                 for

                     EASTERN DISTRICT OF NORTH CAROLINA
                             SOUTHERN DIVISION

U.S.A. vs. Frankie Darnell Green                                     Docket No. 7:06-CR-I02-4D

                               Petition for Action on Probation

       COMES NOW Eddie 1. Smith, probation officer of the court, presenting a petition for
modification of the Judgment of Frankie Darnell Green, who, upon an earlier plea of guilty to 18
U.S.C. §287, False, Fictitious, or Fraudulent Claims, was sentenced by the Honorable James C.
Dever III, U.S. District Judge, on August 8, 2007, to a 12-month term of probation under the
standard conditions adopted by the court and the following additional conditions:

1.     The defendant shall consent to a warrantless search by a United States Probation Officer or,
       at the request ofthe probation officer, any other law enforcement officer, ofthe defendant's
       person and premises, including any vehicle, to determine compliance with the conditions of
       this judgment.

2.     The defendant shall cooperate in the collection of DNA as directed by the probation officer.

         Additionally, the defendant was ordered to pay a $100 special assessment and $2,000
restitution. Payments were established by the court at $50 per month.

    RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR
CAUSE AS FOLLOWS:

         The defendant's term of probation is scheduled to expire on August 7,2008, and he still has
a restitution balance of$l ,500. Green reports that he should be in able to pay offthe balance within
the next few months. In an effort to collect the restitution balance in full, we are recommending that
the tenn of probation be extended for 12 months. Ifhe is able to pay off the balance within a few
months as anticipated, we will recommend that the remaining period be terminated.

       The defendant signed a Waiver ofHearing agreeing to the proposed extension ofsuperv ision.

       PRAYING THAT THE COlTRT WILL ORDER that probation be modified as
follows:

       That the term of supervision be extended 12 months from the expiration date of August 7,
       2008, until August 7, 2009.




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       Except as herein modified, the judgment shall remain in full force and effect.


Reviewed and approved,                              I declare under penalty of perjury that the
                                                    foregoing is true and correct.


 lsi Robert L. Thornton                              lsi Eddie J. Smith
Robert L. Thornton                                  Eddie J. Smith
Supervising U.S. Probation Officer                  U.S. Probation Officer
                                                    310 Dick Street
                                                    Fayetteville, NC 28301-5730
                                                    Phone: (910) 483-8613
                                                    Executed On: July 14, 2008


                                      ORDER OF COURT

Considered and ordered this      Al day of
made a part of the records in the above case.
                                                -::J:J'1----,       2008, and ordered filed and



Jam~D~-~~\J. y=t-----­      ......
U.S. District Judge




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